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             EXHIBIT A
     Case 4:20-cv-03664-YGR Document 1008-2 Filed 10/06/23 Page 2 of 16



 1   Mark C. Mao, CA Bar No. 236165            William S. Carmody (admitted pro hac vice)
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18   Attorneys for Plaintiffs
19
                                  UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
21
     CHASOM BROWN, MARIA NGUYEN,                Case No. 5:20-cv-03664-LHK
22   WILLIAM BYATT, JEREMY DAVIS, and
23   CHRISTOPHER CASTILLO, individually and PLAINTIFFS’ REQUESTS FOR
     on behalf of all other similarly situated, PRODUCTION OF DOCUMENTS TO
24                                              DEFENDANT GOOGLE LLC
                     Plaintiffs,                SET ONE
25      v.
26
     GOOGLE LLC,
27
                    Defendant.
28

        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                  GOOGLE LLC SET ONE, CASE NO.: 5:20-CV-03664-LHK
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 1   Propounding Party:     Plaintiffs Chasom Brown, Maria Nguyen, William Byatt, Jeremy Davis,

 2                          and Christopher Castillo

 3   Responding Party:      Defendant Google LLC

 4   Set No.:               One

 5          Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiffs Chasom Brown, Maria

 6   Nguyen, William Byatt, Jeremy Davis, and Christopher Castillo (“Plaintiffs”) hereby submit the

 7   following requests for production to Defendant Google LLC (“Google”). Each request is to be

 8   read in accordance with the Definitions and Instructions that follow. Responses are due within

 9   thirty (30) days of service.

10                                               DEFINITIONS

11          1.      The term “ALL” includes the word “ANY,” and vice versa.

12          2.      The term “COMMUNICATION” is to be construed in the broadest possible sense,

13   and include, but are not limited to, any transmission of information in any form and of any kind,

14   including electronic, oral, or written transmission, whether such was by chance, prearranged,

15   formal or informal, including conversations in person, notes of conversations, letters, electronic

16   mail, telephone conversations, facsimile transmissions, correspondence or memoranda, formal

17   statements, press releases or newspaper articles.

18          3.      The term “DOCUMENT” and “DOCUMENTS” shall be synonymous in meaning

19   and equal to the broadest meaning provided by Rule 34 of the Federal Rules of Civil Procedure

20   INCLUDING, without limitation, original and any non-identical copy of every kind of written,

21   printed, typed, recorded, or graphic matter, however produced or reproduced, including all

22   correspondence, letters, telegrams, telexes, messages, memoranda, instructions, emails,

23   handwritten or recorded notes, and all records, schedules, reports, surveys, calculations,

24   transcripts, notes, time cards, personal expense reports, appointment books, calendars, plans,

25   purchase orders, contracts, subcontracts, charts, COMMUNICATIONS, database, data

26   compilation, diary, draft, drawing, electronically stored information, emails, fax, floppy disk,

27   graph, hard drive, image, index, instant message, letter, log, magnetic tape, memorandum, note,

28   optical disk, photograph, report, sound recording, spreadsheet, storage device, text message,
                                                    2
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 1   version, voicemail or writing. This term shall apply to any DOCUMENT, whether in hard copy

 2   or electronic form, on any computers or other system. Any copy of a DOCUMENT that differs

 3   in any respect

 4          4.        The term “IDENTIFY” or “IDENTITY” means to state or a statement of:

 5                    a. in the case of an entity, its full legal name, corporate form, present or last

 6                       known address, and relevant divisions;

 7                    b. in the case of a natural person, his or her full name, present or last known

 8                       address, and present or last known place of employment and employment title.

 9                       If the person is not a party or present employee of a party, said telephone

10                       numbers shall be provided;

11                    c. in the case of a communication, its date, type (e.g., telephone conversation, in-

12                       person discussion, email), the place where it occurred, the identity of the

13                       person who made the communication, the identity of the person who received

14                       the communication, the identity of each other person when it was made, and

15                       the subject matter discussed;

16                    d. in the case of a document, the title of the document, the author, the title or

17                       position of the author, the addressee, each recipient, the type of document, the

18                       subject matter, and the date of preparation;

19                    e. in the case of an agreement, its date, the place where it occurred, the identity

20                       of all persons who were parties to the agreement, the identity of each person

21                       who has knowledge of the agreement and all other persons present when it was

22                       made, and the subject matter of the agreement; and

23                    f. in the case of time periods, the date(s).

24          5.        The term “INCLUDE” or “INCLUDING” means “include, but not limited to” or

25   “including, but not limited to.”

26          6.        The term “GOOGLE” means GOOGLE LLC and any of its directors, officers,

27   consultants, agents, representatives, predecessors in interest, subsidiaries, assignees, licensees,

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 1   employees, attorneys and any other persons acting on GOOGLE LLC’S behalf, including

 2   contractors.

 3           7.      The term “PERSON(S)” includes without limitation any natural person, firm,

 4   association, organization, partnership, business, trust, corporation, or public entity. Any reference

 5   to a PERSON that is a business entity and is not otherwise defined INCLUDES that PERSON’s

 6   predecessors, if any (INCLUDING any pre-existing PERSON that at any time became part of that

 7   entity after merger or acquisition), successors, parents divisions, subsidiaries, affiliates,

 8   franchisors and franchisees, and any other PERSON acting for or on behalf of them.

 9           8.      The term “PLAINTIFFS” mean Chasom Brown, Maria Nguyen, William Byatt,

10   Jeremy Davis, and Christopher Castillo.

11           9.      The term “REGULATORS” includes all government agencies and regulators that

12   have requested documents or information from Google and/or initiated any investigation or action

13   concerning Google’s data collection practices and disclosures, including without limitation the

14   Department of Justice, the Federal Trade Commission, the Arizona Attorney General (State of

15   Arizona ex rel. Mark Brnovich, Attorney General v. Google LLC, No. CV 2020-006219 (Ariz.

16   Superior Ct. 2020)), the Attorneys General of Texas and California, the Australian Competition

17   & Consumer Commission, and the Commission Nationale de l’Informatique et des Libertés

18   (“CNIL”). For purposes of this request, Documents should be read broadly to include any written

19   responses and privilege logs submitted by Google to the Regulators.

20           10.     The terms “CONCERNING,” “RELATE,” or “RELATING TO” INCLUDE

21   addressing, analyzing, concerning, constituting, containing, commenting on, discussing,

22   describing, identifying, in connection with, referring to, reflecting, relating, relating to, reporting

23   on, stating, or dealing with, in whole or in part, in addition to their customary and usual meanings,

24   and shall be construed in the broadest sense possible.

25           11.     The term “YOU” or “YOUR” means or refers to DEFENDANT GOOGLE LLC,

26   and any of his or their attorneys, agents, representatives, predecessors, successors, assigns, and

27   any PERSONs acting or purporting to act on his or their behalf.

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        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1   GENERAL INSTRUCTIONS

 2          1.      Responses: Respond to each request for production by producing the requested

 3   DOCUMENTS in their entirety, notwithstanding the fact that portions thereof may contain

 4   information not requested, along with every family document (such as any appendices,

 5   attachments, cover letters, exhibits, and schedules), that is in YOUR possession, custody, or

 6   control. If there are no DOCUMENTS in YOUR possession, custody, or control that are

 7   responsive to a particular request for production, provide a written response stating so.

 8          2.      Construction: For purposes of reading, interpreting, or construing the scope of

 9   the DEFINITIONS, INSTRUCTIONS, and REQUESTS, all of the terms shall be given their most

10   expansive and inclusive interpretation. This INCLUDES the following:

11                  (a)     The singular form of a word shall be interpreted as plural and vice versa.

12                  (b)     “And,” “or,” as well as “and/or” shall be construed either disjunctively or

13                          conjunctively as necessary to bring within the scope of the Request any

14                          document that might otherwise be construed to be outside the scope of the

15                          Request.

16                  (c)     “All,” “each” and “any” shall be construed as “all, each, and any.”

17                  (d)     The masculine form of a word shall be interpreted as and shall include the

18                          feminine and vice versa.

19                  (e)     The use of a verb in any particular tense shall be construed as the use of

20                          the verb in all other tenses as necessary to bring within the scope of the

21                          Request any document that might otherwise be construed to be outside the

22                          scope of the Request.

23          3.      Objections: Each Request shall be responded to fully, unless it is objected to in

24   good faith. In that case, the reason(s) for the objection shall be stated in writing and with

25   particularity. If an objection is to only a portion of the Request, state the objection as to that

26   portion only and respond to any portion of the Request to which YOU do not object.

27                  (a)     If YOU claim any ambiguity in interpreting the Request or any of the

28                    applicable Instructions or Definitions, such claim shall not be used as a
                                                5
        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1                       basis for refusing to respond to the Request. In any such circumstance,

 2                       YOU should set forth as part of YOUR response the language claimed to

 3                       be ambiguous and the interpretation chosen or used by YOU in responding

 4                       to the Request and YOU shall respond as fully as possible notwithstanding

 5                       any claimed ambiguity or objection.

 6                (b)    If YOU object to the Request on the ground that it is overly broad, YOU

 7                       are instructed to produce DOCUMENTS in response as narrowed to

 8                       conform to YOU objection and to state in YOUR response: (1) how YOU

 9                       narrowed the Request; and (2) all reason(s) why YOU claim the Request

10                       is overly broad.

11                (c)    The fact that a document has been or could be produced by any other

12                       PERSON does not relieve YOU of the obligation to produce such

13                       DOCUMENT, even if the DOCUMENT in YOUR possession, custody, or

14                       control is identical in all respects to the document produced or held by any

15                       other PERSON.

16         4.     Production: Produce each responsive DOCUMENT and all family documents in

17   accordance with the terms of any agreement between the parties regarding the production of

18   DOCUMENTS.

19                (a)    If any DOCUMENTS are withheld based on an objection to any Request,

20                       all DOCUMENTS covered by that Request but not subject to the objection

21                       should be produced.

22                (b)    DOCUMENTS not otherwise responsive to any of the Requests herein

23                       should be produced if such DOCUMENTS are attached to a DOCUMENT

24                       or thing called for by these Requests.

25                (c)    Unless otherwise specified, the DOCUMENTS requested include the

26                       responsive DOCUMENTS in YOUR actual or constructive possession,

27                       control or custody, as well as the responsive DOCUMENTS in the actual

28                    or constructive possession, control or custody of YOUR employees,
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        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1                    agents, representatives, managers, or any other person acting or purporting

 2                    to act on its behalf, and, unless privileged and such privilege has not been

 3                    waived, its attorneys.

 4              (d)   Unless otherwise specified, the DOCUMENTS requested include all

 5                    responsive DOCUMENTS in YOUR possession, custody or control that

 6                    exist in electronic format (whether on internal or external hard drives; on

 7                    desktop, laptop, notebook, tablet, or personal digital assistant computers;

 8                    servers; CDs; DVDs; USB drives; or any other electronic medium).

 9              (e)   DOCUMENTS shall be produced either (a) as they are kept in the usual

10                    course of business (in which case they shall be produced in such fashion

11                    as to identify the department, branch, or office in whose possession it was

12                    located and, where applicable, the natural person in whose possession it

13                    was found or the server or central file in which it was found, and the

14                    address of each DOCUMENT’s custodian(s)), or (b) organized and labeled

15                    to correspond to the specific Request enumerated in these Requests, with

16                    such specific Request identified.

17              (f)   In producing DOCUMENTS, YOU are requested to produce a legible copy

18                    of each DOCUMENT requested together with all non-identical copies and

19                    drafts of that DOCUMENT.            YOU shall retain all of the original

20                    DOCUMENTS for inspection or copying throughout the pendency of this

21                    case, any appeal(s), and any related proceedings.

22              (g)   Any alteration of a responsive DOCUMENT, INCLUDING any marginal

23                    notes, handwritten notes, underlining, date stamps, received stamps,

24                    endorsed or filed stamps, drafts, revisions, modifications, and other

25                    versions of a DOCUMENT is a responsive DOCUMENT in its own right

26                    and must be produced.

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       PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1                     (h)    DOCUMENTS should be produced in full, without abbreviation or

 2                            expurgation, regardless of whether YOU consider the entire DOCUMENT

 3                            to be relevant or responsive.

 4                     (i)    In instances where two or more exact duplicates of any DOCUMENT

 5                            exist, the most legible copy shall be produced.

 6           5.        Privilege Log: To the extent YOU object to or claim a privilege with respect to

 7   any Request in whole or in part, provide the following information for each DOCUMENT and

 8   each portion of any DOCUMENT withheld: (a) its Bates Number; (b) its type (e.g., email,

 9   memorandum, spreadsheet, text message); (c) any author(s) or sender(s); (d) any recipients; (e)

10   any persons cc’d or bcc’d; (f) its date; (g) whether it was redacted or withheld; (h) the applicable

11   privilege(s) or protection(s); and (i) a brief description of why the privilege(s) or protection(s)

12   justify the redaction or withholding. For all persons identified as author(s), sender(s), recipient(s),

13   or copyees or blind copyees, identify for each person, her affiliation(s), title(s), and whether she

14   is an attorney.

15           6.        Lost Materials: If any responsive DOCUMENT was, but no longer is, in YOUR

16   possession, custody, or control, then provide a log that lists for each such DOCUMENT (a) its

17   type (e.g., email, memorandum, spreadsheet, text message); (b) any author(s) or sender(s); (c)

18   any recipients; (d) any persons cc’d; (e) its date; and (f) its subject matter.

19           7.        Continuing Obligation: These Requests are to be considered continuing in

20   nature, and YOU must promptly furnish supplemental responses if any additional DOCUMENTS

21   or information is discovered or created after YOUR responses are tendered, or if any of YOUR

22   responses are subsequently determined to be incorrect, incomplete, or misleading in any respect.

23                           REQUESTS FOR PRODUCTION OF DOCUMENTS

24   REQUEST FOR PRODUCTION NO. 1:

25           Documents Google produced, provided, or otherwise disclosed to Regulators in

26   connection with any request, investigation, or action concerning Google’s data collection

27   practices and disclosures.

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        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                  GOOGLE LLC SET ONE, CASE NO.: 5:20-CV-03664-LHK
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 1   REQUEST FOR PRODUCTION NO. 2:

 2          Unredacted versions of the filings (including exhibits and attachments) and all discovery

 3   from State of Arizona ex rel. Mark Brnovich, Attorney General v. Google LLC, No. CV 2020-

 4   006219 (Ariz. Superior Ct. 2020).

 5   REQUEST FOR PRODUCTION NO. 3:

 6          Documents concerning the purpose and function of Incognito mode.

 7   REQUEST FOR PRODUCTION NO. 4:

 8          Documents concerning Google’s disclosures and statements regarding Incognito mode.

 9   REQUEST FOR PRODUCTION NO. 5:

10          Documents concerning any Google disclosures and statements regarding Google’s receipt

11   of data while users are in a private browsing mode, including Incognito mode.

12   REQUEST FOR PRODUCTION NO. 6:

13          Documents Google contends evidence or indicate consent to the Google conduct at issue.

14   REQUEST FOR PRODUCTION NO. 7:

15          Documents sufficient to show all the ways in which Google collects data while users are

16   in a private browsing mode, including Incognito mode.

17   REQUEST FOR PRODUCTION NO. 8:

18          Documents sufficient to identify all data Google collects while users are in a private

19   browsing mode, including Incognito mode.

20   REQUEST FOR PRODUCTION NO. 9:

21          Documents sufficient to show all the ways in which Google uses data collected while

22   users are in a private browsing mode, including Incognito mode.

23   REQUEST FOR PRODUCTION NO. 10:

24          Documents sufficient to identify all alleged class members, including all electronic or

25   physical address information associated with alleged class members.

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        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1   REQUEST FOR PRODUCTION NO. 11:

 2          Documents sufficient to identify Google’s current and former officers, directors,

 3   managers, employees and consultants with knowledge of the alleged Google conduct.

 4   REQUEST FOR PRODUCTION NO. 12:

 5          Documents sufficient to show the roles and responsibilities of and supervisory relationship

 6   between Google’s current and former officers, directors, managers, employees and consultants

 7   with knowledge of the alleged Google conduct.

 8   REQUEST FOR PRODUCTION NO. 13:

 9          Handouts and presentations to or from any Google C-level executive or board member

10   and committee or board meeting minutes discussing any private browsing mode, including

11   Incognito mode.

12   REQUEST FOR PRODUCTION NO. 14:

13          Documents concerning Google’s December 2008 launch of Incognito mode, including

14   Google’s reasons for launching Incognito mode, Google’s anticipated benefits from Incognito

15   mode, Google’s disclosures in connection with the launch of Incognito mode, and Google’s data

16   collection practices in connection with launching Incognito mode.

17   REQUEST FOR PRODUCTION NO. 15:

18          Documents concerning the launch of private browsing modes for Safari (2005), Internet

19   Explorer (2009), Mozilla Firefox (2009), Opera (2010), Amazon Silk (2014), Microsoft Edge

20   (2015), and Brave (2019), including any changes to Google’s disclosures and data collection

21   practices in connection with those private browsing modes.

22   REQUEST FOR PRODUCTION NO. 16:

23          Documents concerning each change Google has made, is making, has considered or is

24   considering with respect to its privacy and data-collection disclosures and practices in connection

25   with any private browsing mode, including Incognito mode, and Google’s reason(s) for each

26   change.

27   REQUEST FOR PRODUCTION NO. 17:

28         Documents discussing, analyzing, or evaluating any of the rights and claims asserted in
                                                  10
        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1   this lawsuit.

 2   REQUEST FOR PRODUCTION NO. 18:

 3           Documents concerning Plaintiffs, including Plaintiffs’ use of Google services, all data

 4   collected by Google from and regarding Plaintiffs, and Google’s use of all data collected by

 5   Google from and regarding Plaintiffs.

 6   REQUEST FOR PRODUCTION NO. 19:

 7           Documents sufficient to show Google’s past and present policy(ies) or practice(s)

 8   concerning the retention or destruction of Documents, including Documents concerning Google’s

 9   collection of data while users are in a private browsing mode, use of such data, and identification

10   of class members.

11

12                                                Respectfully submitted,

13    Dated: September 30, 2020                    BOIES SCHILLER FLEXNER LLP

14
                                                   By:______________________________
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16
                                                  Mark C. Mao, CA Bar No. 236165
17                                                Sean P. Rodriguez, CA Bar No. 262437
                                                  Beko Richardson, CA Bar No. 238027
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28                                                rbaeza@bsfllp.com
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        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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18                                      Attorneys for Plaintiffs
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        PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1                                   PROOF OF SERVICE
 2         I, Vicky L. Ayala, declare:
 3         I am a citizen of the United States and employed in the City and County of San
 4   Francisco, CA. I am over the age of 18 and not a party to the within action; my business
 5   address is 44 Montgomery St., 41st Floor, San Francisco, CA 94104.
 6         On September 30, 2020, I served the following document(s) described as:
 7    PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
 8                                 GOOGLE, LLC, SET ONE
 9                BY FACSIMILE TRANSMISSION: As follows: The papers have been
          
10                transmitted to a facsimile machine by the person on whom it is served at the
                  facsimile machine telephone number as last given by that person on any
11                document which he or she has filed in the cause and served on the party
                  making the service. The copy of the notice or other paper served by
12
                  facsimile transmission shall bear a notation of the date and place of
13                transmission and the facsimile telephone number to which transmitted or be
                  accompanied by an unsigned copy of the affidavit or certificate of
14                transmission which shall contain the facsimile telephone number to which
15                the notice of other paper was transmitted to the addressee(s).

16               BY MAIL: As follows: I am readily familiar with the firm’s practice of
                  collection and processing correspondence for mailing. Under that practice it
17                would be deposited with U.S. postal service on that same day with postage
18                thereon fully prepaid at San Francisco, CA, in the ordinary course of
                  business. I am aware that on motion of the party served, service is presumed
19                invalid if postage cancellation date or postage meter date is more than one
                  day after date of deposit for mailing in affidavit.
20

21               BY OVERNIGHT MAIL: As follows: I am readily familiar with the firm’s
                  practice of collection and processing correspondence for overnight mailing.
22                Under that practice, it would be deposited with overnight mail on that same
                  day prepaid at San Francisco, CA in the ordinary course of business.
23

24               BY ELECTRONIC MAIL TRANSMISSION: By electronic mail
                  transmission from vayala@bsfllp.com on September 30, 2020, by
25                transmitting a PDF format copy of such document(s) to each such person at
                  the e-mail address(es) listed below their address(es). The document(s)
26
                  was/were transmitted by electronic transmission and such transmission was
27                reported as complete and without error.

28
                                                                   Case No. 5:20-cv-03664-LHK
                                         PROOF OF SERVICE
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25         I declare that I am employed in the office of a member of the bar of this court at
26   whose direction the service was made.
27         Executed on September 30, 2020, at San Francisco, CA.
28
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 1                                                      Vicky L. Ayala
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